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                                     January 25, 2016


 VIA ECF

 Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     United States v. Martin Shkreli., No. 1:2015-cr-00637

 Dear Judge Matsumoto:

         We are writing to inform you that, yesterday, January 24, 2016, we received an
 email from the House of Representatives Committee on Oversight and Government
 Reform staff stating that in light of the weather, the hearing before the Committee was
 postponed to February 4, 2016 at 9am.

        We are available to discuss at your convenience.

                                              Respectfully Submitted,

                                              ARNOLD & PORTER LLP


                                              /s/ Baruch Weiss

                                                  Baruch Weiss
                                                  Marcus A. Asner


 cc:    Winston Paes and Alixandra Smith (Assistant United States Attorneys)
